Case 3:21-cv-12870-MAS-DEA Document 9-1 Filed 07/14/21 Page 1 of 9 PageID: 119




               EXHIBIT A
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 1 of28of 9 PageID:
                                                                    PageID #: 1 120



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE
 SILVERGATE PHARMACEUTICALS, INC.,                   )
                                                     )
                       Plaintiff,                    )
                                                     )
       v.                                            )   C.A. No.
                                                     )
 BIONPHARMA INC.,                                    )
                                                     )
                       Defendant.                    )

                       COMPLAINT FOR PATENT INFRINGEMENT

       For its Complaint against Defendant Bionpharma Inc. (“Bionpharma” or “Defendant”),

Plaintiff Silvergate Pharmaceuticals, Inc. (“Silvergate” or “Plaintiff”), by and through its

attorneys, alleges as follows:

                                    The Nature of the Action

       1.      This is an action for patent infringement of United States Patents Nos. 9,669,008

(the “’008 Patent”), 9,808,442 (the “’442 Patent”), and 10,039,745 (the “’745 Patent”) arising

under the patent laws of the United States, Title 35, United States Code, that arises out of the

filing by Defendant Bionpharma of Abbreviated New Drug Application (“ANDA”) No. 212408

with the U.S. Food and Drug Administration (“FDA”) seeking approval of a generic version of

Silvergate’s enalapril maleate oral solution that is the subject of New Drug Application (“NDA”)

No. 208686, hereinafter referred to as Silvergate’s “EPANED® product.” Silvergate seeks all

available relief under the patent laws of the United States, 35 U.S.C. § 100 et. seq., and other

applicable laws for Defendant’s infringement of the ’008, ’442, and ’745 Patents.
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 2 of38of 9 PageID:
                                                                    PageID #: 2 121



                                           The Parties

       2.      Silvergate is a corporation organized and existing under the laws of the State of

Delaware, with a principal place of business at 6251 Greenwood Plaza Blvd., Suite 101,

Greenwood Village, CO 80111.

       3.      On information and belief, Bionpharma is a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business at 600 Alexander Rd

#2-4B, Princeton, NJ 08540. Upon information and belief, Bionpharma is in the business of,

among other things, developing, manufacturing, and selling generic copies of branded

pharmaceutical products for the U.S. market.

                                    Jurisdiction and Venue

       4.      This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction over the action under 28 U.S.C. §§ 1331 and 1338(a).

Relief is sought under 35 U.S.C. § 271(e)(2).

       5.      This Court has personal jurisdiction over Bionpharma because, among other

things, on information and belief, Bionpharma is a corporation formed under the laws of the

State of Delaware.

       6.      Venue is proper in this Court under 28 U.S.C. § 1400(b).

                                 Silvergate’s Epaned® Product

       7.      Silvergate’s EPANED® product is the only FDA approved and labeled ace

inhibitor treatment that is a ready-to-use oral solution for hypertension in children. EPANED® is

also indicated to treat hypertension in adults, heart failure, and asymptomatic left ventricular

dysfunction.

       8.      Silvergate holds approved NDA No. 208686.




                                                 2
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 3 of48of 9 PageID:
                                                                    PageID #: 3 122



                                           Patents-In-Suit

        9.      The ’008 Patent, entitled “Enalapril Formulations,” issued to Gerold L. Mosher

and David W. Miles on June 6, 2017. A true and correct copy of the ’008 Patent is attached to

this Complaint as Exhibit A.

        10.     The ’008 Patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title and interest in the ’008 patent.

        11.     Pursuant to 21 U.S.C. § 355, the ’008 Patent is listed in the Approved Drug

Products with Therapeutic Equivalence Evaluations (“the Orange Book”) in connection with

Silvergate’s EPANED ® product.

        12.     The ’442 Patent, entitled “Enalapril Formulations,” issued to Gerold L. Mosher

and David W. Miles on November 7, 2017. A true and correct copy of the ’442 Patent is

attached to this Complaint as Exhibit B.

        13.     The ’442 Patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title and interest in the ’442 patent.

        14.     The use of Silvergate’s EPANED® product is covered by at least one claim of the

’442 Patent.

        15.     Pursuant to 21 U.S.C. § 355, the ’442 Patent is listed in the Orange Book in

connection with Silvergate’s EPANED® product.

        16.     The ’745 Patent, entitled “Enalapril Formulations,” issued to Gerold L. Mosher

and David W. Miles on August 7, 2018. A true and correct copy of the ’745 Patent is attached to

this Complaint as Exhibit C.

        17.     The ’745 Patent was duly and legally issued to Silvergate as the assignee and

Silvergate owns all rights, title and interest in the ’745 patent.




                                                   3
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 4 of58of 9 PageID:
                                                                    PageID #: 4 123



          18.    Silvergate’s EPANED® product is covered by at least one claim of the ’745

Patent.

          19.    Pursuant to 21 U.S.C. § 355, the ’745 Patent is listed in the Orange Book in

connection with Silvergate’s EPANED® product.

                                   Infringement by Bionpharma

          20.    By letter dated October 30, 2018 (“the Notice Letter”), Bionpharma notified

Silvergate that it had submitted ANDA No. 212408 to FDA under Section 505(j)(2)(B) of the

Federal Food, Drug and Cosmetic Act (“FDCA”) (21 U.S.C. § 355(j)(2)(B) and 21 C.F.R.

§314.95) seeking approval to engage in the commercial manufacture, use, and sale of a generic

version of Silvergate’s EPANED® product (“the Bionpharma ANDA Product”) before the

expiration of the ’008, ’442, and ’745 Patents. Upon information and belief, Bionpharma intends

to engage in commercial manufacture, use, and sale of the Bionpharma ANDA Product promptly

upon receiving FDA approval to do so.

          21.    By filing ANDA No. 212408, Bionpharma has represented to FDA that the

Bionpharma ANDA Product has the same active ingredients as Silvergate’s EPANED® product,

has the same route of administration, dosage form, and strength as Silvergate’s EPANED®

product, and is bioequivalent to Silvergate’s EPANED® product.

          22.    This action is being filed within forty-five (45) days of Silvergate’s receipt of the

Notice Letter.

                                    CLAIM 1 FOR RELIEF
                 Infringement of the ’008 Patent Under 35 U.S.C. § 271 (e)(2)(A)

          23.    Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.




                                                   4
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 5 of68of 9 PageID:
                                                                    PageID #: 5 124



          24.   Bionpharma submitted ANDA No. 212408 to FDA under section 505(j) of the

FDCA to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Bionpharma ANDA Product throughout the United States before the

expiration of the ‘008 Patent. By submitting the ANDA, Bionpharma has committed an act of

infringement of the ’008 Patent under 35 U.S.C. § 271(e)(2)(A).

          25.   If Bionpharma’s ANDA is approved by FDA, the commercial manufacture, use,

offer to sell, or sale within the United States, and/or importation into the United States of the

Bionpharma ANDA Product will infringe the ’008 Patent under 35 U.S.C. § 271(a)-(c).

          26.   Upon information and belief, Bionpharma had actual knowledge of the ’008

Patent prior to filing ANDA No. 212408 and was aware that filing this ANDA with FDA

constituted an act of infringement of the ’008 Patent. In addition, upon information and belief,

Bionpharma had specific intent to infringe the ’008 Patent when it filed ANDA No. 212408.

Moreover, there are no substantial non-infringing uses for the Bionpharma ANDA Product other

than as the pharmaceutical claimed in the ’008 Patent.

          27.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

Bionpharma ANDA Product in violation of Silvergate’s patent rights will cause irreparable harm

to Silvergate for which damages are inadequate.

                                   CLAIM 2 FOR RELIEF
                Infringement of the ’442 Patent Under 35 U.S.C. § 271 (e)(2)(A)

          28.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          29.   Bionpharma submitted ANDA No. 212408 to FDA under section 505(j) of the

FDCA to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Bionpharma ANDA Product throughout the United States before the



                                                  5
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 6 of78of 9 PageID:
                                                                    PageID #: 6 125



expiration of the ‘442 Patent. By submitting the ANDA, Bionpharma has committed an act of

infringement of the ’442 Patent under 35 U.S.C. § 271(e)(2)(A).

          30.   If Bionpharma’s ANDA is approved by FDA, the commercial use, offer to sell, or

sale within the United States of the Bionpharma ANDA Product will infringe the ’442 Patent

under 35 U.S.C. § 271(a)-(c).

          31.   Upon information and belief, Bionpharma had actual knowledge of the ’442

Patent prior to filing ANDA No. 212408 and was aware that filing this ANDA with FDA

constituted an act of infringement of the ’442 Patent. In addition, upon information and belief,

Bionpharma had specific intent to infringe the ’442 Patent when it filed ANDA No. 212408.

Moreover, there are no substantial non-infringing uses for the Bionpharma ANDA Product other

than as the pharmaceutical claimed in the ’442 Patent.

          32.   The commercial use, offer for sale, and/or sale of the Bionpharma ANDA Product

in violation of Silvergate’s patent rights will cause irreparable harm to Silvergate for which

damages are inadequate.

                                   CLAIM 3 FOR RELIEF
                Infringement of the ’745 Patent Under 35 U.S.C. § 271 (e)(2)(A)

          33.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          34.   Bionpharma submitted ANDA No. 212408 to FDA under section 505(j) of the

FDCA to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Bionpharma ANDA Product throughout the United States before the

expiration of the ‘745 Patent. By submitting the ANDA, Bionpharma has committed an act of

infringement of the ’745 Patent under 35 U.S.C. § 271(e)(2)(A).




                                                6
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 7 of88of 9 PageID:
                                                                    PageID #: 7 126



       35.     If Bionpharma’s ANDA is approved by FDA, the commercial manufacture, use,

offer to sell, or sale within the United States, and/or importation into the United States of the

Bionpharma ANDA Product will infringe the ’745 Patent under 35 U.S.C. § 271(a)-(c).

       36.     Upon information and belief, Bionpharma had actual knowledge of the ’745

Patent prior to filing ANDA No. 212408 and was aware that filing this ANDA with FDA

constituted an act of infringement of the ’745 Patent. In addition, upon information and belief,

Bionpharma had specific intent to infringe the ’745 Patent when it filed ANDA No. 212408.

Moreover, there are no substantial non-infringing uses for the Bionpharma ANDA Product other

than as the pharmaceutical claimed in the ’745 Patent.

       37.     The commercial manufacture, use, offer for sale, sale, and/or importation of the

Bionpharma ANDA Product in violation of Silvergate’s patent rights will cause irreparable harm

to Silvergate for which damages are inadequate.

                                    PRAYER FOR RELIEF

       Silvergate respectfully requests that the Court grant the following relief:

       a)      A judgment that Bionpharma has infringed the ’008, ’442, and ’745 Patents under

35 U.S.C. § 271(e)(2)(A) by submitting ANDA No. 212408 under Section 505(j) of the FDCA,

and that Bionpharma’s making, using, offering to sell, or selling in the United States, or

importing into the United States, of the Bionpharma ANDA Product will infringe one or more

claims of the ’008, ’442, and ’745 Patents;

       b)      A finding that the ’008, ’442, and ’745 Patents are valid and enforceable;

       c)      An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of FDA approval

of ANDA No. 212408 shall be a date which is not earlier than the latest expiration date of the

’008, ’442, or ’745 Patent, as extended by any applicable periods of exclusivity;




                                                  7
CaseCase
     3:21-cv-12870-MAS-DEA  Document1 9-1
         1:18-cv-01962-LPS Document        Filed
                                       Filed     07/14/21
                                             12/12/18      Page
                                                        Page 8 of98of 9 PageID:
                                                                    PageID #: 8 127



       d)      An order under 35 U.S.C. § 27l(e)(4)(B) permanently enjoining Bionpharma, its

subsidiaries, parents, officers, agents, servants, employees, licensees, representatives, and

attorneys, and all other persons acting or attempting to act in active concert or participation with

it or acting on its behalf, from engaging in the commercial manufacture use, offer to sell and/or

sale in the United States, or importation into the United States, of any drug product covered by

the ’008, ’442, or ’745 Patent, including the Bionpharma ANDA Product;

       e)      A finding that this is an exceptional case under 35 U.S.C. § 285, and that

Silvergate be awarded reasonable attorneys’ fees and costs; and

       f)      An award of such other and further relief as the Court may deem just and proper


                                                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                     /s/ Jack B. Blumenfeld

                                                     Jack B. Blumenfeld (#1014)
                                                     Megan E. Dellinger (#5739)
OF COUNSEL:                                          1201 North Market Street
                                                     P.O. Box 1347
Wendy L. Devine                                      Wilmington, DE 19899
Tina M. Hanson                                       (302) 658-9200
WILSON SONSINI GOODRICH & ROSATI                     jblumenfeld@mnat.com
One Market Plaza, Spear Tower, Suite 3300            mdellinger@mnat.com
San Francisco, CA 94105
(415) 947-2000                                       Attorneys for Plaintiff Silvergate
                                                     Pharmaceuticals, Inc.
Natalie J. Morgan
WILSON SONSINI GOODRICH & ROSATI
12235 El Camino Real, Suite 200
San Diego, CA 92130-3002
(858) 350-2300

Jamie Y. Otto
WILSON SONSINI GOODRICH & ROSATI
650 Page Mill Road
Palo Alto, CA 94304
(650) 943-9300

December 12, 2018


                                                 8
